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      JOHN T. FRENCH                                                 April 29, 2011
                                                                                 1

          UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF NEW YORK
          ------------------------------)
          JOHN KOGUT,                     )
                          Plaintiff,    )
                      vs.                 )              CV-06-6695
          THE COUNTY OF NASSAU, POLICE )
          COMMISSIONER DONALD KANE,     )
          POLICE COMMISSIONER WILLIAM   )
          J. WILLET (2005), POLICE      )
          COMMISSIONER JAMES LAWRENCE, )
          DETECTIVE SEAN SPILLANE       )
          (HEAD OF HOMICIDE 1985),      )
          DETECTIVE DENNIS FARRELL      )
          (HEAD OF HOMICIDE 2005),      )
          DETECTIVE JOSEPH VOLPE,       )
          DETECTIVE ROBERT DEMPSEY,     )
          DETECTIVE ALBERT MARTINO,     )
          DETECTIVE WANE BIRDSALL,      )
          DETECTIVE MILTON G. GRUBER,   )
          DETECTIVE CHARLES FRAAS,      )
          DETECTIVE FRANK SIRIANNI,     )
          DETECTIVE HARRY WALTMAN,      )
          P.O., MICHAEL CONNAUGHTON,    )
          P.O., WILLIAM DIEHL and       )
          JOHN DOES 1-5,                )
                          Defendants.   )
          ------------------------------)

              (Caption continues on next page.)




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        JOHN T. FRENCH                                               April 29, 2011
                                                                                 2
    1
    2     JOHN RESTIVO, DENNIS HALSTEAD,)
          MELISSA LULLO, JASON HALSTEAD,)
    3     HEATHER HALSTEAD and TAYLOR   )
          HALSTEAD,                     )
    4                    Plaintiffs,    )
                     vs.                  ) CV-06-6720
    5     NASSAU COUNTY; JOSEPH VOLPE, )
          in his individual capacity;   )
    6     ROBERT DEMPSEY, in his        )
          individual capacity; FRANK    )
    7     SIRIANNI, in his individual   )
          capacity; MILTON GRUBER, in   )
    8     his individual capacity; HARRY)
          WALTMAN, in his individual    )
    9     capacity; ALBERT MARTINO, in )
          his individual capacity;      )
   10     CHARLIE FRAAS, in his         )
          individual capacity;          )
   11     THOMAS ALLEN, in his          )
          individual capacity; RICHARD )
   12     BRUSA, in his individual      )
          capacity; VINCENT DONNELLY,   )
   13     in his individual capacity;   )
          MICHAEL CONNAUGHTON, in his   )
   14     individual capacity; WAYNE    )
          BIRDSALL, in his individual   )
   15     capacity; WILLIAM DIEHL, in   )
          his individual capacity;      )
   16     JACK SHARKEY, in his          )
          individual capacity; DANIEL   )
   17     PERRINO, in his individual    )
          capacity; ANTHONY KOZIER, in )
   18     his individual capacity;      )
          DETECTIVE SERGEANT CAMPBELL   )
   19     (SHIELD #48), in his          )
          individual capacity; SEAN     )
   20     SPILLANE, in his individual   )
          capacity; and RICHARD ROE     )
   21     SUPERVISORS #1-10, in his     )
          individual capacity.          )
   22                    Defendants.    )
          ------------------------------)
   23
   24
   25

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        JOHN T. FRENCH                                               April 29, 2011
                                                                                            3
    1
    2                    DEPOSITION of JOHN T. FRENCH in the
    3     above-entitled matter, held at the offices of
    4     Grandinette & Serio LLP, 114 Old Country Road,
    5     Mineola, New York, before Helga Christiane
    6     Lavan, a Notary Public of the State of New
    7     York.
    8
    9                                         April 29, 2011
   10                                         114 Old Country Road
   11                                         Mineola, New York
   12                                         10:05 a.m.
   13
   14
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        JOHN T. FRENCH                                               April 29, 2011
                                                                                 4
    1
    2     A P P E A R A N C E S:
    3
          GRANDINETTE & SERIO, LLP
    4     Attorneys for Plaintiff-John Kogut
          114 Old Country Road
    5     Mineola, New York 11501
    6        BY: ANTHONY GRANDINETTE, ESQ.
    7
    8     NEUFELD, SCHECK & BRUSTIN, LLP
          Attorneys for Plaintiffs-John Restivo, Dennis
    9     Halstead, Melissa Lullo, Jason Halstead,
          Heather Halstead and Taylor Halstead
   10     99 Hudson Street
          New York, New York 10013
   11
              BY:    DEBORAH CORNWALL, ESQ.
   12
   13
          LORNA B. GOODMAN
   14     Nassau County Attorney
          One West Street
   15     Mineola, New York 11501
   16        BY: MICHAEL J. FERGUSON, ESQ.
                  Deputy County Attorney
   17
   18
          ALSO PRESENT:
   19
          NADJIA LIMANI, Esq.
   20
   21
   22
   23
   24
   25

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        JOHN T. FRENCH                                               April 29, 2011
                                                                                            5
    1                                J. French
    2                 (Whereupon, Exhibits 265 through 270
    3     were marked for identification.)
    4                    Whereupon,
    5                            JOHN T. FRENCH,
    6     after having been first duly sworn, was
    7     examined and testified as follows:
    8     EXAMINATION BY
    9     MS. CORNWALL:
   10           Q.    Good morning, Mr. French.
   11           A.    Good morning.
   12           Q.    We met off the record.               My name is
   13     Deborah Cornwall.            I'm a lawyer for two of
   14     three plaintiffs in this civil lawsuit against
   15     Nassau County.          I represent John Restivo and
   16     Dennis Halstead.
   17                 I believe you've met Mr. Ferguson
   18     before today, right?
   19           A.    Yeah.
   20           Q.    You just met Ms. Limani who also
   21     represents Nassau County and individual police
   22     officers, civil defendants in the case.
   23                 Have you ever had your deposition
   24     taken like this before?
   25           A.    No.

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        JOHN T. FRENCH                                               April 29, 2011
                                                                                            6
    1                                J. French
    2           Q.    I'm going to ask you some questions.
    3     I'll ask you to answer to the best of your
    4     memory.        If any of my questions are unclear or
    5     confusing, let me know and I'll rephrase it.
    6     If you want to take a break at any time just
    7     let us know.
    8           A.    Okay.
    9           Q.    After I've finished questioning --
   10     well, first, during my questioning you may
   11     hear objections from counsel on the other
   12     side.      Because there's no judge here to rule
   13     on those objections, they go into the record.
   14     You can answer the question and the judge can
   15     sort out those issues later on.
   16           A.    Okay.
   17           Q.    Then Mr. Ferguson or Ms. Limani will
   18     have a chance to ask you questions when I'm
   19     through and we'll try to get you out of here
   20     as quickly as we can.              I know you have other
   21     plans.
   22           A.    Thank you.
   23           Q.    Let's start by putting your full name
   24     into the record.
   25           A.    John Thomas French.

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        JOHN T. FRENCH                                               April 29, 2011
                                                                                            7

    1                       J. French
    2         Q. Where do you live?
    3         A. 224 -- 364 Vincent Avenue in
    4     Malverne -- Lynbrook, New York.
    5         Q. You live in Lynbrook?
    6         A. I live in Lynbrook. I also have a
    7     mailing address in Malverne as well which is
    8     my mom's house.
    9         Q. Where did you go to high school?
   10         A. Malverne High School.
   11         Q. Did you graduate?
   12         A. Yes.
   13         Q. When did you graduate?
   14         A. 1981.
   15         Q. Did you go to school after then?
   16         A. I had gone to Nassau Community
   17     College night school going for my associates
   18     which I got about 30 credits. So I never
   19     finished that.
   20         Q. What do you do for a living now?
   21         A. I'm in Local 3. I'm an alarm service
   22     technician, I do fire and burglary.
   23         Q. For --
   24         A. For A.D.T.
   25         Q. Do you know what A.D.T. stands for?

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        JOHN T. FRENCH                                               April 29, 2011
                                                                                            8

    1                       J. French
    2         A. American District Telegraph.
    3         Q. Of course you do.
    4         A. 1874 is when they started.
    5         Q. When did you start with them?
    6         A. About 15 years ago. 1996.
    7         Q. I would like to take you back to
    8     November of 1984.
    9         A. Okay.
   10         Q. First of all, how old are you now?
   11         A. I'm 47 now.
   12         Q. What year why you born?
   13         A. 1963.
   14         Q. So we could do the math. But how old
   15     were you as of November of 1984?
   16         A. Well, if you want to do the math --
   17     21 years old. Approximately 21.
   18         Q. Close enough. Where were you living
   19     in November of '84?
   20         A. On Broadway in Malverne.
   21         Q. Who were you living with there?
   22         A. With my mom and my sisters.
   23         Q. Which sisters?
   24         A. Lisa and Lori.
   25         Q. And what's the birth order?

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        JOHN T. FRENCH                                               April 29, 2011
                                                                                            9

    1                       J. French
    2         A. I'm the oldest and my sister Lisa is
    3     a year younger and my sister Lori is
    4     approximately four, five years younger than
    5     me.
    6         Q. So they were in their late teens
    7     around this time?
    8         A. Correct.
    9         Q. And did you work at that time?
   10         A. Yes.
   11         Q. What did you do?
   12         A. I was a -- the head of a shipping
   13     department at Lemarc Watch Company in
   14     Malverne.
   15         Q. That was a supervisor kind of
   16     position?
   17         A. I wasn't supervisor. I ran the
   18     shipping department. I wasn't really
   19     supervising. There was a manager above me.
   20     But...
   21         Q. Did you own a car in November of
   22     1984?
   23         A. Yes.
   24         Q. What kind of car did you have?
   25         A. A 1971 Oldsmobile Delta 88.

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      JOHN T. FRENCH                                               April 29, 2011
                                                                                      10

  1                        J. French
  2          Q. You have a very good memory. You
  3     know specifically?
  4          A. I love my vehicles.
  5          Q. Okay. Was that your first car?
  6          A. No.
  7          Q. Was it the first one you had ever
  8     bought?
  9          A. No.
 10          Q. You said a '71 Oldsmobile Delta 88?
 11          A. Correct.
 12          Q. What color was it?
 13          A. Gold.
 14          Q. And do you recall when you bought the
 15     car?
 16          A. Don't remember exactly when I bought
 17     it, no.
 18          Q. But you know you had it as of
 19     November '84?
 20          A. Yes.
 21          Q. Do you recall how much you bought it
 22     for?
 23          A. No.
 24          Q. Okay.
 25          A. I know I bought it off my friend's

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      JOHN T. FRENCH                                               April 29, 2011
                                                                                      11

  1                        J. French
  2     father who was a police chief. That's all I
  3     remember.
  4          Q. Where was he police chief?
  5          A. I believe -- I forgot. I totally
  6     forgot. Haven't seen him in years.
  7          Q. What was your friend's name?
  8          A. Bill Kniffing. K-N-I-F-F-I-N-G. One
  9     or two Fs, I'm not sure.
 10          Q. Thank you.
 11             Did you take good care of that car?
 12          A. Absolutely.
 13          Q. And how did you care for it?
 14          A. I always made sure the oil was
 15     changed. I washed it, cleaned it. I love my
 16     vehicles.
 17          Q. Did you keep it clean on the inside
 18     too?
 19          A. Yes.
 20          Q. Did there come a time in November of
 21     1984 when something happened to your car?
 22          A. My car was stolen. I believe it was
 23     November. Yes.
 24          Q. Did you report it to the police?
 25          A. Yes.

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      JOHN T. FRENCH                                               April 29, 2011
                                                                                      12

  1                       J. French
  2          Q. How soon after you realized it was
  3     missing did you make that report?
  4          A. Immediately.
  5          Q. Where had you been -- withdrawn.
  6             Let me ask that a different way.
  7             Where did you last park the car
  8     before you realized it was stolen?
  9          A. The car was parked on Lakeview Avenue
 10     on the Lynbrook side while I was across the
 11     street in Malverne at my friend's house.
 12          Q. Whose house were you at?
 13          A. Michael Becht, B-E-C-H-T.
 14          Q. Were you just visiting him or were
 15     there other friends there?
 16          A. Yes. There were probably about ten
 17     people there altogether.
 18          Q. It was a party?
 19          A. Yeah. It was like a little bit of a
 20     party. We got together often just to hang
 21     out.
 22          Q. Friday night?
 23          A. I don't remember.
 24          Q. Let me show you a document -- and
 25     when you say you made a report to the police,

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      JOHN T. FRENCH                                               April 29, 2011
                                                                                      13
  1                                J. French
  2     was that the Lynbrook police?
  3           A.    Correct.
  4           Q.    This is a document we've been
  5     provided that has been marked Exhibit 166.
  6     I'll ask you to just page through it and then
  7     I'm going to ask you some questions.
  8     Specifically turning to the second page, if
  9     you would.
 10                 Do you recognize this page?
 11           A.    No.
 12           Q.    It appears to be a supporting
 13     deposition motor vehicle/boat and registration
 14     plates from the police department in Nassau
 15     County.        It has your name at the top there,
 16     John T. French.
 17                 (Pause.)
 18                 You know what?          You're on the third
 19     page.
 20           A.    There's only two pages here.
 21           Q.    It's double-sided.
 22                 Let's try this again.
 23                 Take a look at that page, if you
 24     would (pointing).
 25           A.    Okay.

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      JOHN T. FRENCH                                               April 29, 2011
                                                                                      14

  1                        J. French
  2          Q. And this appears to be a report that
  3     your car had been stolen?
  4          A. Correct.
  5          Q. Do you recognize this page now?
  6          A. No.
  7          Q. Do you see a signature at the bottom
  8     of the page?
  9          A. Yes, I do.
 10          Q. Is that yours?
 11          A. Yes, it is.
 12          Q. What's the date of this report? If
 13     you look on the lower left.
 14          A. 11/10/84.
 15          Q. Do you see a time next to that box?
 16          A. 23:25.
 17          Q. So is it fair to say that you
 18     reported your car stolen around 11:30 at
 19     night, something like that?
 20          A. I would say it would be fair to say,
 21     yes.
 22          Q. Just going up to the top of this
 23     sheet, it says: I -- and the name is filled
 24     in -- John T. French certify that I reside
 25     at -- and the address is blocked out. And

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      JOHN T. FRENCH                                               April 29, 2011
                                                                                      15
  1                                J. French
  2     that between 1:30 p.m. -- right?
  3           A.    Correct.
  4           Q.    -- on 11/10/84 and time 23:05 p.m. --
  5     right?
  6           A.    Correct.
  7           Q.    --    date 11/10/84, motor vehicle --
  8     okay --        now, finishing that sentence, says --
  9     was stolen from post number 3 location.
 10                 Why don't you read the location into
 11     the record, if you could?
 12           A.    "South side Lakeview Avenue, 200 feet
 13     west of Ocean Avenue."
 14           Q.    In Lynbrook, New York?
 15           A.    Yes.
 16           Q.    Is that consistent with your memory
 17     of where the car had been parked?
 18           A.    It's pretty consistent, yeah.
 19           Q.    You said you were at Michael Becht's
 20     house across the street from where the car was
 21     parked.
 22           A.    Correct.
 23           Q.    Was the car in a parking lot or on
 24     the street?
 25           A.    It was on the street at -- there was

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      JOHN T. FRENCH                                               April 29, 2011
                                                                                      16

  1                       J. French
  2     a gas station across the street. It was,
  3     like, parked in front of the closed gas
  4     station.
  5         Q. Did you regularly visit your friend
  6     Mike Becht?
  7         A. Yes.
  8         Q. Was it your practice to park the car
  9     at the gas station in front of it there?
 10         A. It wasn't -- I could have parked it
 11     anywhere -- it wasn't like a common practice.
 12     But, obviously, that night I had.
 13         Q. Did you know anyone who worked at the
 14     gas station?
 15         A. No.
 16         Q. Now, there's more information here
 17     describing your car in the next section. You
 18     don't remember the license plate now, do you?
 19         A. No.
 20         Q. Do you see the box next to "motor
 21     vehicle" it says "license plate number"?
 22         A. Correct.
 23         Q. It says, "5233 BJN"?
 24         A. Correct.
 25         Q. "Oldsmobile Delta 88, four-door

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      JOHN T. FRENCH                                               April 29, 2011
                                                                                      17

  1                                 J. French
  2     sedan"?
  3         A. Correct.
  4         Q. "Gold with a black top."
  5             Did it have a black top?
  6         A. I believe so.
  7         Q. It says there was a hunting knife
  8     above the passenger door?
  9         A. I probably would have one there.
 10         Q. The outdoors man that you are?
 11         A. Yes.
 12         Q. So to the best of your memory, the
 13     information written in on page two of Exhibit
 14     166 is accurate?
 15         A. Correct.
 16         Q. All right.
 17             I'm going to ask you to look at a map
 18     so we could get our bearings. It's a little
 19     bit hard to read. But let's see how we do.
 20     It's Exhibit 170-A, previously marked.
 21             Now, do you see written onto the map,
 22     maybe two-thirds of the way down, there's a
 23     small, circled number 3 and to the right it
 24     says, "John French reported car stolen from
 25     this location"; do you see that?

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      JOHN T. FRENCH                                               April 29, 2011
                                                                                      18

  1                       J. French
  2         A. I see numbers 1, 2, 24 and 27.
  3             Oh, up there. Okay. Oh, okay.
  4             Yes. Number 3, I see.
  5         Q. And do you see the street that is
  6     just above the 3, going left to right, is
  7     Lakeview Avenue?
  8         A. Correct.
  9         Q. And going top to bottom to the left
 10     of the 3 would be Ocean?
 11         A. Correct.
 12         Q. Is that approximately the location
 13     where your car had been parked?
 14         A. Correct.
 15         Q. So that would be an accurate
 16     representation of that on the map?
 17         A. Correct.
 18         Q. Okay. Thank you.
 19             When did you -- well, going back to
 20     your report. You reported that it was stolen
 21     between 21:30, which is 9:30 at night in
 22     military time, and 23:05, about 11:05 p.m.
 23     Had you just been in Mike Becht's house with
 24     friends during that period?
 25         A. Yes. Correct.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           Q.    Do you recall who else was at the
  3     party?
  4           A.    No.
  5           Q.    Was it kind of just a regular group
  6     of friends?
  7                 MR. FERGUSON:          Objection.
  8           A.    Correct.
  9           Q.    Had you left the keys in the car?
 10           A.    I did leave a spare set under the
 11     mat.     I believe it was the passenger-side mat.
 12           Q.    Did you do that from time to time?
 13           A.    I did it for -- in case I forgot my
 14     keys or lost my keys while I was away
 15     somewhere.
 16           Q.    Did you ever let friends drive the
 17     car?
 18           A.    Rarely.
 19           Q.    You didn't go for, you know, more
 20     drinks or take a ride around the block or
 21     anything like that?
 22           A.    No.    Not to my recollection.
 23           Q.    Did anyone else know you had a set of
 24     keys under the mat?
 25           A.    I do not remember.            I don't know.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           Q.    So you testified a minute ago that
  3     you immediately reported to the police when
  4     you found out the car was not there?
  5           A.    Correct.
  6           Q.    Did you physically go to the police
  7     department?
  8           A.    Correct.
  9           Q.    Did you go with someone?
 10           A.    Yes.     But I don't remember who.
 11           Q.    I'm just going to show you what we've
 12     marked as Exhibit 266 now.                This was provided
 13     to us by the Lynbrook Police.
 14                 Do you see the entry next to 23:10 on
 15     the left side?
 16           A.    Yes.
 17           Q.    It says, "John French of 1 Ocean
 18     Avenue, Malverne, reports his auto stolen, car
 19     563 613."
 20                 That's consistent with the timing
 21     that you reported your car missing to the
 22     Lynbrook Police?
 23           A.    Yes.
 24                 I'm not from 1 Ocean Avenue.                   I
 25     happened to be at 1 Ocean Avenue.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                        J. French
  2         Q. So that would be inaccurate?
  3         A. Correct.
  4         Q. Then going down two entries to 23:45.
  5     "Complaint number 1084, unauthorized use of a
  6     motor vehicle."
  7              Do you see that?
  8         A. Yes.
  9         Q. It discusses an officer present
 10     reporting that, "Complainant, John T. French
 11     of 58 Broadway, Malverne" -- that's you,
 12     right?
 13         A. Yes.
 14         Q. -- "reports unauthorized use of motor
 15     vehicle from Lakeview Avenue near Croyden
 16     Street"?
 17         A. Croyden Street?
 18         Q. Croyden street? Is that near the
 19     location where you had parked the car?
 20         A. Not really.
 21         Q. So that may be inaccurate?
 22         A. It's in the same -- Croyden Street is
 23     in Malverne.
 24         Q. Okay. Right at the border of
 25     Malverne and Lynbrook where you are?

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                 J. French
  2         A. Kind of.
  3         Q. But not exactly right where you were.
  4         A. No.
  5         Q. Okay. So there's that complaint
  6     number 1084 which was assigned to that entry,
  7     just for Lynbrook's purposes, which is the
  8     same report number on --
  9         A. What do they mean by "misuse of a
 10     vehicle"?
 11         Q. Well, let me see if you have an idea
 12     about that.
 13             When you reported to police that your
 14     car wasn't where you had parked it, was there
 15     a possibility in your mind someone had just
 16     taken it for a joyride?
 17         A. Yes.
 18         Q. Did you have any ideas in mind about
 19     who might have done that?
 20         A. No.
 21         Q. Had there been anyone at the party or
 22     at Mike's house who had left before you?
 23         A. I don't remember.
 24             MR. FERGUSON: There wasn't a party.
 25     They just hung out. It wasn't a party.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           A.    It wasn't a party.
  3           Q.    Sorry.      At Mike's house.
  4           A.    Correct.
  5           Q.    And did you tell the Lynbrook Police
  6     you thought someone may have just taken it for
  7     a ride as opposed to stealing it?
  8           A.    I don't remember.            I reported it
  9     stolen.        That was that.
 10           Q.    So with the one set of keys that were
 11     under the mat on the floorboard, you still had
 12     keys on you; is that right?
 13           A.    Correct.
 14           Q.    After you made the report to the
 15     Lynbrook Police that evening of November 10th
 16     of 1984, did you do anything to look for your
 17     car?
 18           A.    Yes.
 19           Q.    What did you do?
 20           A.    I drove around all over the place
 21     looking for my car.
 22           Q.    And did there come a time when you
 23     found it?
 24           A.    Yes, there was.
 25           Q.    About how long after it was stolen

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      JOHN T. FRENCH                                               April 29, 2011
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  1                       J. French
  2     did you find your car?
  3         A. I do not recall.
  4         Q. Where did you find it?
  5         A. On Woodfield Road in Lakeview.
  6         Q. Who were you with when you found it?
  7         A. I believe I was with my sister.
  8         Q. Which one?
  9         A. Lori.
 10         Q. Let's take another look at that map,
 11     Exhibit 170-A. You see the first typed entry
 12     on the right side, number 6, "Location where
 13     John French reported finding his car"?
 14         A. Number 6?
 15         Q. And then another -- very small,
 16     circled 6 on the map next to the railroad
 17     tracks. It's up here (pointing).
 18         A. Down here?
 19         Q. All the way up here. See that?
 20     "Location"? Then there's a 6 right in there?
 21         A. Oh, I see.
 22             That appears to be approximately
 23     where I found it.
 24         Q. By Lakeview near the railroad tracks?
 25         A. Correct.

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      JOHN T. FRENCH                                               April 29, 2011
                                                                                      25
  1                                J. French
  2           Q.    And that's in Malverne?
  3           A.    No.    That's in Lakeview.
  4           Q.    So that entry number 6 on the map
  5     would be accurate?
  6           A.    Correct.
  7           Q.    What condition was the car in when
  8     you found it?
  9           A.    It was abused.
 10           Q.    How so?
 11           A.    Windshield was cracked, the rearview
 12     mirror was ripped off and it smelled funny.
 13           Q.    Funny how?
 14           A.    Just like it's been sitting, I guess.
 15     I remember being unhappy about the car because
 16     I loved the car so much, being in that
 17     condition.
 18           Q.    How about the radio and the speakers,
 19     were they still in the car?
 20           A.    I don't remember.            I don't recall.
 21           Q.    How were -- what was the condition of
 22     the inside of the car?
 23           A.    A little beat up, so to speak.
 24           Q.    Can you be more specific about --
 25           A.    No, I can't.         I'm sorry.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                               J. French
  2         Q. Okay.           What did you do when you found
  3     the car?
  4         A. I believe we went back to my house
  5     and got the keys and we went back to the car.
  6     And then I brought it to the Lynbrook Police
  7     Department.
  8         Q. And when you got to the Lynbrook
  9     Police Department, what happened at that
 10     point?
 11         A. I just remember telling -- well, I
 12     know I had told them that I found my car and
 13     that was that. That's all I remember.
 14         Q. Your sister Lori testified a couple
 15     of weeks ago; are you aware of that?
 16         A. Correct.
 17         Q. And she testified to finding girl's
 18     inside-out striped jeans inside your car?
 19         A. I do remember girl's jeans in the
 20     car. Yes, I do.
 21         Q. Where did you see girl's jeans in the
 22     car when you found it?
 23         A. I forgot.
 24         Q. On seats, under seats --
 25         A. I do not recall.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                       J. French
  2         Q. -- front or back?
  3         A. I do not recall.
  4         Q. Do you as you sit here today remember
  5     seeing girl's inside-out striped jeans in the
  6     car when you found it?
  7         A. I don't remember what they looked
  8     like. I remember they looked like blue jeans
  9     of some type.
 10         Q. Did you pick them up?
 11         A. Probably.
 12         Q. Do you recall what happened to those
 13     jeans?
 14         A. We brought them to the Lynbrook
 15     Police Department, I believe.
 16         Q. And that's the last you saw of them?
 17         A. Correct.
 18         Q. Had there been girl's jeans in your
 19     car when you last left it to go into Mike
 20     Becht's house?
 21         A. Not to my recollection.
 22         Q. Did you ask around among your friends
 23     if they could have been any of theirs, the
 24     pair of jeans?
 25         A. I don't recall.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           Q.    Were you aware at this time that a
  3     teen-age Lynbrook girl named Theresa Fusco had
  4     been reported missing?
  5           A.    I don't recall the chronologic -- I
  6     don't remember the chronological part of that.
  7           Q.    So I'm just going to see if we could
  8     jog your memory by showing you the missing
  9     poster that was around town.                 It's Exhibit
 10     168.
 11                 Do you remember seeing this years
 12     ago?
 13           A.    I remember seeing -- I don't remember
 14     this specific one.            But I remember seeing a
 15     poster of a missing girl.
 16           Q.    You see one of the things on the
 17     description of what she was wearing was
 18     striped blue jeans?
 19           A.    Okay.
 20           Q.    So at the time that you found the car
 21     and the jeans in the car, did you make any
 22     kind of connection in your own mind that they
 23     might have been connected to Theresa Fusco at
 24     this point?
 25           A.    I don't recall.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           Q.    So you drop off the jeans, take the
  3     car to Lynbrook to let them know you had your
  4     car back, you take the car home.                    So it was in
  5     drivable condition?
  6           A.    Yes.
  7           Q.    It wasn't stripped, you could use
  8     your key?
  9           A.    Well, the lock had been broken off
 10     anyway.        You know, the ignition lock had been
 11     broken off.        I probably could have used a
 12     screwdriver, but I used my key.                   You know,
 13     that's what I did.
 14           Q.    And referring to the lock, you're
 15     referring to the lock on the ignition as
 16     opposed to the lock on the outside of the car?
 17           A.    Correct.
 18           Q.    Had you left the car doors locked or
 19     unlocked?
 20           A.    I don't recall.
 21           Q.    Were you in the habit of locking your
 22     car doors?
 23           A.    I don't recall.
 24           Q.    Do you recall if there was damage to
 25     the lock on the doors?

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           A.    I don't recall.
  3           Q.    Please take another look at Exhibit
  4     166, the first page, the case report of the
  5     vehicle recovery.            Again, this refers to the
  6     same report, 1084, in that upper left-hand box
  7     that related to the report that your car had
  8     been stolen.         Do you see that?
  9           A.    Yes.
 10           Q.    It's describing your car; right?
 11           A.    Correct.
 12           Q.    And on the right side going five
 13     boxes down, do you see a box called "ignition
 14     pulled"?
 15           A.    Yes.
 16           Q.    And the box for "no" is X'd out.
 17           A.    Okay.
 18           Q.    Is that accurate to say that the
 19     ignition was not pulled?
 20           A.    I -- I don't know.            "Pulled" means
 21     they pulled it out?             I just said the ignition
 22     lock was broken off.             I don't know what the
 23     exact terminology of "ignition pulled" would
 24     mean in that state.
 25           Q.    And the date, it says, the car was

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     recovered is 11/18/84, on the left side of the
  3     next line.        Do you see that?
  4           A.    Okay.
  5           Q.    Which is about a week after it went
  6     missing?
  7           A.    Oh, yeah.        I was just checking.
  8     Okay.      Only a week later.
  9           Q.    Is that consistent with your memory?
 10           A.    I don't recall.
 11           Q.    You don't remember specifically?
 12           A.    I don't recall.           No.
 13           Q.    No reason to disbelieve this police
 14     report?
 15           A.    No.    I don't see any reason to
 16     disbelieve that.
 17           Q.    Now, it says, at the bottom, there's
 18     additional details written in, "Registered
 19     plates 5233-BJN New York belonging to owner
 20     were put on a car owned by Debra Ann DiCarlo,"
 21     and then there's something blacked out, "her
 22     plates registered," and then it's blacked out,
 23     "New York, were found in the stolen vehicle.
 24     Both sets of plates have been exchanged."
 25                 When you found your car did there

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     come a time when you realized that the wrong
  3     plates were on it?
  4           A.    No.    I did not realize.             I was so
  5     excited to have found the car I never even
  6     checked the plates.
  7           Q.    So did there come a time that you
  8     were made aware that the wrong plates were on
  9     the car?
 10           A.    That is correct.
 11           Q.    How did that happen?
 12           A.    My neighbor Chris Ambrico (phonetic)
 13     who lived a couple of houses down on Broadway
 14     came over and he immediately realized -- he is
 15     a very big motor head, into race cars and
 16     stuff -- he noticed immediately, to my
 17     amazement.
 18           Q.    When you say immediately, was it the
 19     same day you brought back the car?
 20           A.    I don't recall.
 21           Q.    What did you do when he told you you
 22     have the wrong plates on your car?
 23           A.    I brought it straight to the police
 24     department.
 25           Q.    What happened when you brought it

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                 J. French
  2     back?
  3         A. The Lynbrook Police Department took
  4     my plates -- took those plates from my car.
  5         Q. And did you receive your own plates
  6     back at some point?
  7         A. I believe not at that moment.
  8     Obviously.
  9         Q. But did there come a time when your
 10     plates were given back to you?
 11         A. I don't recall but I would imagine
 12     so.
 13         Q. So you could drive it again?
 14         A. Absolutely.
 15         Q. So you have your car back. You have
 16     your plates back. You said the car was --
 17     what was the word you used for its condition?
 18     Forgive me.
 19         A. The word I just used? I'll use a new
 20     word. It was a little bit in shambles.
 21         Q. Okay. So at some point after you got
 22     your car home, did you clean it up and fix it
 23     up?
 24         A. Knowing me, I probably would because
 25     I'm kind of a little anal when it comes to

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     neatness and things.             So I probably did clean
  3     it up as much as I could.
  4           Q.    As you sit here today, do you
  5     remember specifically what you did to clean it
  6     up on the inside of the car?
  7           A.    No.    I don't recall.
  8           Q.    Do you remember if you vacuumed out
  9     the car?
 10           A.    I don't recall.
 11           Q.    I'm going to ask you a number of
 12     questions.        If you remember, you remember; if
 13     you don't, that's okay.
 14           A.    Okay.
 15           Q.    Did you wipe down the seats and the
 16     dash?
 17           A.    I don't recall.
 18           Q.    Did you clean the windows?
 19           A.    I don't recall.           I -- it was too long
 20     ago to be specific on that.
 21           Q.    But fair to say as a general matter
 22     you took meticulous care of your car?
 23           A.    Yes.
 24           Q.    And you got it back to a sparkling
 25     clean state so you could drive it?

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           A.    I don't recall.           I remember being
  3     upset that it used to be sparkling clean and
  4     then it was messed up.              So I may have been a
  5     little disgruntled over the fact it was
  6     destroyed.        So I don't know how well I took
  7     care of it afterwards.
  8           Q.    It's fair to say you did a thorough
  9     job in cleaning it up?
 10           A.    I would probably say so.
 11           Q.    Did there come a time sometime later
 12     in 1984 when you were contacted by Nassau
 13     County police about the car?
 14           A.    No.    I contacted Nassau County
 15     police.
 16           Q.    When was that?
 17           A.    Sometime afterwards.             When I had
 18     realized Theresa Fusco was missing on the same
 19     date my car was stolen.
 20           Q.    So did there come a time when you
 21     made the connection between Theresa Fusco's
 22     disappearance and the car being stolen?
 23           A.    Yes.
 24           Q.    To the best of your ability, could
 25     you explain to me how that happened and when

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     it happened?
  3           A.    I don't remember any of that.                    Like,
  4     I don't recall -- once again, I don't recall
  5     the chronological order of how that all went
  6     down.      But I do know for a fact, when I
  7     realized she was missing the same date as my
  8     car, that's when I contacted Nassau County
  9     detectives.        But I don't remember what order
 10     it was or what day it was or how that went
 11     down.
 12           Q.    And it was really the timing that, in
 13     your mind, led you to call the police?
 14           A.    I remember seeing -- I believe that
 15     it was when I saw the -- when I saw the date
 16     that she was missing and my car being stolen
 17     that night, I thought there may have been a
 18     connection.        So I called the police department
 19     about that.
 20           Q.    I'm going to show you Exhibit 267.
 21     It's a copy of a New York Post article from
 22     Friday, December 7 reporting that the body of
 23     Theresa Fusco had been found.
 24                 MR. FERGUSON:          This hasn't been
 25     previously marked, right?                Has not been marked

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     so it's todays date.
  3                 MS. CORNWALL:          Right.
  4           Q.    You see the date, Friday, December 7,
  5     1984 on the top there.
  6           A.    Okay.
  7           Q.    Did you become aware by seeing the
  8     news or reading the paper that Theresa Fusco's
  9     body had been found in early December of 1984?
 10           A.    I don't recall.
 11           Q.    The date of this story -- it says in
 12     the first paragraph, "Her mother had learned
 13     yesterday that her body was found."
 14                 Do you see that?
 15           A.    Okay.
 16           Q.    In the first paragraph there.
 17           A.    Okay.
 18           Q.    So I would like to show you --
 19           A.    Just for the record, I'm not sure
 20     whether I called the police department while
 21     she was missing or after she was found.                          I
 22     don't recall.          I just know I remember calling
 23     them.      But I don't remember if it was when
 24     they found her body or while she was missing.
 25     I don't recall that.             That's why the

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     chronological part is, you know, I don't
  3     remember.       It was a long time ago.
  4           Q.    Who did you call when you called the
  5     police?
  6           A.    Nassau County Police Department.
  7           Q.    And do you know who they connected
  8     you to?
  9           A.    I do not recall.
 10           Q.    Sometime soon after your phone call,
 11     did you receive a visit from Nassau County
 12     Police?
 13           A.    Correct.
 14           Q.    Please take a look at what's been
 15     previously marked as Exhibit 161 and the date
 16     on it is 12/6/84 at 18:40 hours or 6:40 in the
 17     evening.
 18                 Do you see that?
 19           A.    Okay.
 20           Q.    And that is very soon after the
 21     victim's body was found.               You know, you can
 22     look at the news article which was published
 23     the next day.
 24           A.    I see that.
 25           Q.    This Exhibit 161 says, "Present at 58

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      JOHN T. FRENCH                                               April 29, 2011
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  1                       J. French
  2     Broadway, Malverne, New York, home of John T.
  3     French" -- that was your address, right?
  4         A. Correct.
  5         Q. It says, "He stated that on 11/10/84
  6     his 1971 Oldsmobile sedan registration 5233
  7     BJN New York, his car was parked on the
  8     southwest corner of Lakeview Avenue and Ocean
  9     Avenue, it was stolen sometime between 21:30
 10     to 23:05 hours that date."
 11             That's an accurate description of
 12     your car being stolen and your description of
 13     your car; right?
 14         A. Correct.
 15         Q. As you sit here today, do you
 16     remember that first visit from Nassau Police
 17     to your house at 58 Broadway?
 18         A. Vaguely.
 19         Q. Reading on in Exhibit 161, it says,
 20     "On 11/18/84 Mr. French went out looking
 21     around for his car."
 22             That's true, right?
 23         A. Correct.
 24         Q. "He entered Lakeview and found it
 25     parked on Woodfield Road near the railroad

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     tracks."
  3           A.    Correct.
  4           Q.    That's accurate?
  5           A.    Correct.
  6           Q.    It says, "He then got his keys and
  7     drove the car to Lynbrook P.D."
  8                 Right?
  9           A.    Correct.
 10           Q.    "Prior to going to the P.D., his
 11     sister Lori found a pair of lady's blue jeans
 12     with stripes."
 13                 Is that accurate?
 14           A.    Correct.
 15           Q.    "Blue jeans were inside out.                   Jeans
 16     were found on right rear floorboard, halfway
 17     under the right passenger's seat."
 18                 Is that a detail that you recall?
 19           A.    I don't recall that exact detail.
 20     But I know they were in the car.
 21           Q.    When you first spoke to Nassau County
 22     officers at your house, do you recall how many
 23     of them came to the house?
 24           A.    I don't recall.
 25           Q.    Do you recall where in the house you

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  1                                J. French
  2     spoke to them?
  3           A.    I don't recall.
  4           Q.    Do you recall if your sister Lori was
  5     there at the same time?
  6           A.    I believe so.
  7           Q.    So was it possible that she supplied
  8     the detail about the jeans and where she found
  9     them to them?
 10           A.    I don't recall.
 11           Q.    And then at the bottom of Exhibit
 12     161, there's the identifying information for
 13     your car?
 14           A.    Yes.
 15           Q.    Showing you what's previously been
 16     marked Exhibit 162, there is another document
 17     provided to us from Nassau County Police.                            It
 18     says, "Loss from John French's auto."                        There's
 19     no date on this but let's go through it and
 20     see if it is as accurate or if you remember.
 21                 First it says, "Rope."              Sorry.
 22                 At the bottom it says, "Prepared
 23     12/11/4 by Detective Mitchell?"
 24                 Do you see that?
 25           A.    Okay.

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  1                                J. French
  2           Q.    Do you remember Detective Mitchell?
  3           A.    No.
  4           Q.    Do you recall if Detective Mitchell
  5     or any other officer returned to your house
  6     after December 6th?
  7           A.    I don't recall.
  8           Q.    Do you recall if there was more than
  9     one meeting at your house?
 10           A.    I don't recall.
 11           Q.    Going back to the top, had there been
 12     rope in your car that was no longer there when
 13     you found it?
 14           A.    Probably.
 15           Q.    Why do you say probably?
 16           A.    Because the cars -- they were old
 17     cars.      I probably would use it to have my car
 18     pulled or towed.
 19           Q.    Just in case?
 20           A.    Yeah.      As a young man, the car is
 21     usually -- sometimes if I had problems, I
 22     couldn't afford to fix it right away.                        So I
 23     usually would keep things in my car to prepare
 24     for that.
 25           Q.    And rope was one of the things

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                 J. French
  2     usually kept?
  3         A. Yes.
  4         Q. "Tools under the front seat wrapped
  5     in plastic carrying case."
  6              Was that something that had been in
  7     the car that was no longer there when you
  8     found it?
  9         A. Details of the tools, I don't
 10     remember. I always had tools in my car.
 11     Correct.
 12         Q. As you sit here now, do you recall if
 13     those tools were still there when you found
 14     the car?
 15         A. I don't recall.
 16         Q. "Cassette tapes, insurance cards,
 17     coins, bills, floor mat."
 18              Were those items that had been in the
 19     car that were no longer there when you --
 20         A. I don't recall. Probably.
 21         Q. Next entry says, "Nothing was on the
 22     back seat of the auto prior to theft of the
 23     vehicle."
 24              Is that accurate?
 25         A. I don't recall.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           Q.    "Radio was taken from dash.                  Sanyo
  3     AM/FM cassette stereo, two speakers from rear
  4     of car"?
  5           A.    That's probable.
  6           Q.    Does that refresh your memory that
  7     your radio and speakers --
  8           A.    Yeah.      I believe it does.            Yes.
  9           Q.    --    were stolen?
 10           A.    Yes, it does.
 11           Q.    "Windshield was not broken prior to
 12     theft."
 13           A.    That's correct.
 14           Q.    "At time of theft, French was
 15     visiting Mike Becht, 1 Ocean Avenue in
 16     Malverne."
 17           A.    Correct.
 18           Q.    All right.
 19                 When you were speaking to police at
 20     your home, do you remember them taking notes
 21     of what you were telling them?
 22           A.    I don't recall.
 23           Q.    Do you recall whether they told you
 24     that either the timing of your car being
 25     stolen or the jeans being found in it led them

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     to want to investigate whether there was a
  3     link between your car being stolen and Theresa
  4     Fusco's case?
  5           A.    I honestly don't recall the
  6     conversations with the police.
  7           Q.    Do you remember --
  8           A.    To be precise about things, I really
  9     don't remember.           It was a long time ago.
 10           Q.    The officers who came to visit you,
 11     were they in plain clothes or uniform?
 12           A.    I don't recall.
 13           Q.    Do you remember anyone identifying
 14     themselves as from the Homicide Unit?
 15           A.    I believe so.          Yes.
 16           Q.    The next document --
 17                 MR. FERGUSON:          Can I have a short
 18     recess to use the men's room?                  Could we take a
 19     break before we start?
 20                 MS. CORNWALL:          Sure.
 21                 (Recess taken.)
 22           Q.    Mr. French, you mentioned that you
 23     were in the habit of keeping things in the car
 24     that would help you tow it if necessary,
 25     right?

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                 J. French
  2         A. Correct.
  3         Q. Were you in the habit of keeping any
  4     blankets in the car, tarps?
  5         A. I don't recall.
  6         Q. Please take a look at Exhibit 163
  7     that I have put in front of you. It's a
  8     handwritten document that says, "Statements
  9     taken from John T. French taken 12/7/84."
 10             Do you see that?
 11         A. Yes.
 12         Q. That's the day after Exhibit 161 was
 13     made when there was a visit to you at your
 14     home.
 15         A. Okay.
 16         Q. So this is at least a second meeting
 17     with the police; is that fair to say?
 18         A. Okay.
 19             MR. FERGUSON: Sorry. What exhibit
 20     number is this?
 21             MS. CORNWALL: 163. The copy I gave
 22     you has a sticker on it.
 23             THE WITNESS: Want this one?
 24             MR. FERGUSON: No, sir. Thanks.
 25         Q. "My name is John T. French. I am 21

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     years old being born on 7/31/63."
  3           A.    Correct.
  4           Q.    "I live at 58 Broadway in Malverne,
  5     New York with my mother and two sisters.                           My
  6     home phone number is 599-3227"?
  7           A.    Correct.
  8           Q.    At that time that was accurate?
  9           A.    Actually, now I remember it.                   Yeah.
 10           Q.    "Today Detective Sirianni of the
 11     homicide squad was present at my home where he
 12     showed me a length of rope and a brown, felt
 13     pouch."
 14                 Do you remember that as you sit here
 15     today?
 16           A.    I don't recall.           No.
 17           Q.    Then it goes on, "I have positively
 18     identified the rope and the pouch is mine.                              I
 19     had the length of rope in the back seat of my
 20     car because I used it to tie down a bed that I
 21     transported for my friend."
 22           A.    Oh, okay.
 23           Q.    Does that refresh your memory?
 24           A.    It's so long ago I really don't
 25     remember.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           Q.    Okay.
  3                 "The felt pouch I used to keep change
  4     in"?
  5           A.    I don't remember.
  6           Q.    "In telling my story to Detective
  7     Sirianni of the homicide squad I've read and
  8     signed it and it is the truth."                   Then, is that
  9     your signature at the bottom?
 10           A.    Yes.
 11           Q.    Are you confident that when you
 12     signed this statement on December 7th of 1984
 13     your memory was fresher than it is now?
 14           A.    Of course.
 15           Q.    And you're confident that the things
 16     that you wrote down -- that were written for
 17     you, were the truth?
 18           A.    Yes.
 19           Q.    So you were shown a length of rope
 20     and a leather pouch, it says?
 21           A.    Okay.
 22           Q.    Just take a minute and I'm going to
 23     show you some photographs.                As I pull them
 24     out, let me ask, did the Nassau County Police
 25     ask you if they could take your car in for

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     processing --
  3           A.    Yes.
  4           Q.    -- to see if there is any evidence
  5     that might link it to the Fusco case?
  6           A.    Correct.
  7           Q.    I'm going to show you photos.
  8           A.    There it is.         Wow.
  9           Q.    You see the photo of your car.
 10                 I'm just going to mark these pages.
 11     Handing you what's previously been marked
 12     Exhibit 169.         Let's start with the first photo
 13     marked as 169-A.
 14                 Do you recognize what's depicted in
 15     this picture?
 16           A.    Yes.
 17           Q.    What is it?
 18           A.    That's my car.          My good ol' car.
 19           Q.    And it has your plates back on it?
 20           A.    I believe so.          I don't remember my
 21     plate numbers back then.
 22           Q.    Turning to the next page, B, it's a
 23     little bit hard to make out.                 But it appears
 24     to show a cracked windshield.
 25           A.    Correct.

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  1                                J. French
  2           Q.    Do you see that?           And does that
  3     fairly and accurately depict the condition of
  4     the windshield after you found the car?
  5           A.    I would say yes.
  6           Q.    And just for the record, back to the
  7     first page again, is this a fair and accurate
  8     depiction of your 1971 Oldsmobile?
  9           A.    Correct.
 10           Q.    Turning forward to photograph C.                       Do
 11     you recognize this as a photograph of the back
 12     of the car where the speakers would have been?
 13           A.    I would say so.
 14           Q.    Was that a fair and accurate
 15     depiction of the hole left after the speakers
 16     were stolen?
 17           A.    I would say yes.
 18           Q.    Turning forward to --
 19           A.    Look at that dash.            Wow.
 20           Q.    Is that a fair and accurate depiction
 21     of the dashboard of your Oldsmobile?
 22           A.    Yes.
 23           Q.    Does it fairly and accurately depict
 24     the condition of the car after you found it
 25     and cleaned it up?

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           A.    Correct -- well, I do see the rear
  3     view mirror on the floor there.                   So I don't
  4     know whether it was before or after I cleaned
  5     it up.
  6           Q.    Can you see whether the radio is in
  7     or not?
  8           A.    I can see it missing.
  9           Q.    Please turn to the next page, E.
 10           A.    Okay.
 11           Q.    Do you recognize this location?
 12           A.    It looks familiar.
 13           Q.    Page forward to F.            Another view of
 14     the same location by the railroad tracks.
 15           A.    Okay.
 16           Q.    And G, the next page, another view.
 17           A.    Okay.
 18           Q.    Do these photographs fairly and
 19     accurately depict the location where you found
 20     your car?
 21           A.    I don't recall exactly.               But it is
 22     the same area.
 23           Q.    Please page forward to H.
 24                 Was your car found in a dirt parking
 25     area?

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                 J. French
  2          A. Yes.
  3          Q. Page I.
  4          A. Okay.
  5          Q. Does that look familiar?
  6          A. I don't recall -- once again, I don't
  7     recall the exact -- I'm not familiar with the
  8     exact spot that the car was stolen from. But
  9     I know, once again, it's the same area.
 10          Q. Where it was found?
 11          A. Correct.
 12          Q. Please page forward to J.
 13             A length of rope. Is this consistent
 14     with the type of rope you would have kept in
 15     your car?
 16          A. I don't recall. I don't remember
 17     that.
 18          Q. How long did -- well, withdrawn.
 19             How long did Nassau County keep your
 20     car?
 21          A. I remember longer than I wanted. But
 22     I don't remember how long at all.
 23          Q. Were you told anything about any
 24     tests that had been done on it?
 25          A. No.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           Q.    Were you told any results of any
  3     tests that have been done on it?
  4           A.    No.
  5           Q.    Exhibit 164, handwritten document
  6     provided to us by Nassau County with a list of
  7     people who were in John French's car.
  8           A.    Correct.
  9           Q.    Do you remember being asked who had
 10     been in your car?
 11           A.    Yes.
 12           Q.    And did Nassau County Police tell you
 13     why they were asking that question?
 14           A.    I believe to take hair samples to
 15     negate people from the samples from the car, I
 16     believe.
 17           Q.    If they were able to find hair in the
 18     car?
 19           A.    If they were able to find hair.
 20     Exactly.
 21           Q.    So let's go through the list.
 22                 Dave Washington.           He had been in your
 23     car?
 24           A.    Yes.
 25           Q.    Who was he?

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           A.    He worked with me and he did not have
  3     a car.      I would give him a ride home from time
  4     to time.
  5           Q.    Had he ever driven your car?
  6           A.    No.
  7           Q.    Was he at Mike Becht's the night the
  8     car was missing?
  9           A.    No.    At least I don't believe that.
 10     I wouldn't think so.
 11           Q.    To your knowledge did Nassau County
 12     Police ever speak to him about the car?
 13           A.    I don't know.
 14           Q.    Are you still in touch with Dave
 15     Washington?
 16           A.    No.
 17           Q.    How long has it been?
 18           A.    I don't recall.
 19           Q.    The next name on the list is Michael
 20     Becht.
 21           A.    Yes.
 22           Q.    How did you know Mike Becht?
 23           A.    He was a good friend of mine who I
 24     grew up with from second grade.                   We went to
 25     Lady of Lourdes together and things like that.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                       J. French
  2          Q. Had he ridden in your car before?
  3          A. Yes.
  4          Q. Had he driven your car before?
  5          A. I don't recall.
  6          Q. Would you have called him your best
  7     friend back then?
  8          A. A very good friend. I wouldn't say
  9     best. But a very good friend.
 10          Q. To your knowledge did Nassau County
 11     Police ever talk to him about the car?
 12          A. I don't recall.
 13          Q. Or the party?
 14          A. I don't recall.
 15          Q. Did you ever talk to him about the
 16     fact that police had talked to you about the
 17     car?
 18          A. Recently?
 19          Q. Ever.
 20          A. I don't recall. I believe -- I may
 21     have. Yeah.
 22          Q. Did you and your friends have any
 23     theories about what had happened during that
 24     week, who had taken the car?
 25          A. I remember thinking that it was

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     somebody just taking it for a joyride.                         And,
  3     once again, after I found out about Theresa
  4     Fusco thing, I had called the police
  5     department saying there could be a link, that
  6     was the only time.            After I realized the dates
  7     were the same, like that, then I had called
  8     the police department about my car.
  9           Q.    Are you still in touch with Mike
 10     Becht?
 11           A.    Yes.
 12           Q.    Where is he now?
 13           A.    He lives in Pennsylvania.
 14           Q.    Where in Pennsylvania is he?
 15           A.    Salt Creek.
 16           Q.    The next person on the list is
 17     Michael Wren.
 18           A.    Okay.
 19           Q.    Who is Michael Wren?
 20           A.    He was also a friend of mine from
 21     back then.
 22           Q.    Says he worked as a private
 23     investigator?
 24           A.    He did at one point.
 25           Q.    For whom?

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      JOHN T. FRENCH                                               April 29, 2011
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  1                       J. French
  2          A. I don't remember.
  3          Q. What did he do as a private
  4     investigator?
  5          A. I don't recall. He just did private
  6     investigation work. I don't recall exactly
  7     what he did.
  8          Q. Did he have any theories about your
  9     car?
 10          A. I don't recall.
 11          Q. Had he ridden in your car?
 12          A. Yes.
 13          Q. Had he driven your car?
 14          A. I don't recall.
 15          Q. Was he at Mike Becht's house the
 16     night it was stolen?
 17          A. I don't recall.
 18          Q. Was he the part of the regular crew
 19     of people who would be at Mike's house?
 20          A. Yes. Probably.
 21          Q. Are you still in touch with him, Mike
 22     Wren?
 23          A. No.
 24          Q. When were you last in touch with him?
 25          A. I don't recall.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           Q.    Do you know where he lives now?
  3           A.    I do not know.          No.
  4           Q.    Did he have any brothers?
  5           A.    Yes.
  6           Q.    What were his brothers' names?
  7           A.    I know he had Chris Wren, John Wren.
  8     There was a couple of brothers.                   I don't
  9     remember them all.            He had a big family.
 10           Q.    Did you ever learn that Mike Wren was
 11     a police informant?
 12           A.    No.    I had no idea.
 13           Q.    Had you ever been to Mike Wren's
 14     house?
 15           A.    The house he grew up in in Malverne?
 16     Yes.
 17           Q.    Let's look at Exhibit 170-A, if I
 18     could bring it up here.
 19           A.    I have a copy here.
 20           Q.    Great.      There you go.
 21                 So starting from location 6, near the
 22     top, where you found the car, do you see where
 23     Mike Wren lived in November of '84 on the map?
 24           A.    I know he lived on Rider Avenue in
 25     Melville -- Malverne.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           Q.    In Lakeview?
  3           A.    In Malverne.
  4           Q.    All right.        I think this map may be
  5     too small?
  6                 MR. GRANDINETTE:           Do you know if
  7     that's an I or Y, Rider?
  8           A.    R-I-D-E-R.
  9           Q.    I don't want to make you go blind.
 10           A.    I'm getting older now.              I may go with
 11     laser vision instead of having reading glasses
 12     and bifocal glasses.
 13           Q.    Let's get through this list.                   John
 14     Livingston is the next one on the list.                          Who
 15     is he?
 16           A.    Also one of our friends that we hung
 17     out with back then.
 18           Q.    Was he at Mike Becht's the night your
 19     car was stolen?
 20           A.    I don't know.
 21           Q.    Had he ridden in your car?
 22           A.    I believe so.
 23           Q.    Had he driven your car?
 24           A.    I don't recall.
 25           Q.    Are you still in touch with him?

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  1                                 J. French
  2          A. No.
  3          Q. How about Maggie Scarpelli?
  4          A. Yes. I had known her a long time as
  5     well.
  6          Q. Friend from school?
  7          A. Yes. She hung out with us back then
  8     also.
  9          Q. Was she at Mike Becht's house that
 10     night?
 11          A. I don't recall.
 12          Q. Are you still in touch?
 13          A. Yes.
 14          Q. Where is she?
 15          A. She lives in Lynbrook. She's married
 16     now.
 17          Q. Do you know her married name?
 18          A. McDonald.
 19          Q. And she had ridden in your car?
 20          A. Yes.
 21          Q. Had she ever driven it?
 22          A. I believe not.
 23          Q. How about Susan Knight, how did you
 24     know her?
 25             With a K.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                        J. French
  2         A. Same thing. One of the girls we hung
  3     out with.
  4         Q. From school?
  5         A. Yes.
  6         Q. Was she at Mike Becht's house --
  7         A. I don't recall.
  8         Q. Had she ridden in your car?
  9         A. I believe so.
 10         Q. Had she driven your car?
 11         A. I believe not.
 12         Q. And are you still in touch with her?
 13         A. No. But once in a while I probably
 14     would see her. I know she lives in Merrick
 15     and she's married also.
 16         Q. What's her married name?
 17         A. Halverson.
 18         Q. How about Jackie Donovan?
 19         A. Yes. She was definitely in my car.
 20         Q. Had she driven your car?
 21         A. I believe not. She's no longer with
 22     us. She died in 9/11.
 23         Q. Your sister told us. I'm so sorry.
 24         A. Oh, she was such a great person. I
 25     loved her so much.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                           J. French
  2         Q.      How did you know Thomas Glasser?
  3         A.      He was a friend of mine also, Tommy.
  4         Q.      Was he at Mike Becht's that night?
  5         A.      I believe not. I'm not sure.
  6         Q.      What did he do for a living back
  7     then?
  8         A. I don't recall.
  9         Q. Had he ridden in your car?
 10         A. Probably.
 11         Q. Had he ever driven it?
 12         A. I believe not. But I'm not sure.
 13         Q. Are you still in touch with him?
 14         A. No.
 15         Q. How long has it been?
 16         A. It's been a while.
 17         Q. Do you know where he lives now?
 18         A. I believe he lives out in South Hold.
 19         Q. And Jennifer Cohn.
 20         A. Yes.
 21         Q. What was your relationship with her?
 22         A. We kind of like -- she was a friend.
 23         Q. Kind of dated?
 24         A. Well, I think after Tommy we dated a
 25     little bit. But we weren't

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  1                        J. French
  2     boyfriend/girlfriend.
  3         Q. Was she at Mike Becht's that night?
  4         A. I believe not. But once again, I
  5     don't recall.
  6         Q. She had ridden in your car?
  7         A. Yes.
  8         Q. Had she driven it?
  9         A. I believe not. But I'm not sure.
 10         Q. You said after Tommy, so did she date
 11     Tom Glasser?
 12         A. Yes.
 13         Q. Are you still in touch with Jennifer
 14     Cohn?
 15         A. Not really. She's friends with
 16     another friend of mine. So I'll see her once
 17     in a blue moon.
 18         Q. She's still in the New York area?
 19         A. She lives upstate. She's a teacher.
 20         Q. Then it says, "Mother and sister
 21     moved John's car from time to time."
 22             That would be your mom and Lori or
 23     your other sister?
 24         A. Yeah. My mom, Lisa, Lori, we all
 25     lived in the same house. So yeah.

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  1                                J. French
  2           Q.    Now, all the people on these two
  3     pages that we've just gone through, to your
  4     knowledge do any of them know that you kept an
  5     extra set of keys under the floor mat?
  6           A.    I don't recall.           I don't recall.
  7           Q.    Then looking at the next page, "Hair
  8     samples submitted 12/27/84."
  9                 Do you see that?
 10           A.    Okay.
 11           Q.    Thomas Keena, do you know who that
 12     is?
 13           A.    Yes.
 14           Q.    Who is that?
 15           A.    He was a friend from back then also.
 16           Q.    Had he also been in the car?
 17           A.    I believe so.
 18           Q.    Had he ever driven your car?
 19           A.    I don't recall.
 20           Q.    Are you still in touch with him?
 21           A.    He's dead.
 22           Q.    Oh, I'm sorry.
 23           A.    I think he had a heart attack or
 24     something.        But I hadn't really been in touch
 25     with him anyway.           But I had just found out

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     that he passed away though.
  3           Q.    Then Mrs. French, Lori and Lisa, your
  4     mom and your sisters.              How about -- we talked
  5     about Dave Washington and then John French.
  6     So do you remember Nassau County Police taking
  7     hair samples from you?
  8           A.    Yeah.      Vaguely I remember that.
  9           Q.    Do you recall where you were when
 10     that happened?
 11           A.    I believe it may have been at my
 12     house, Broadway in Malverne.
 13           Q.    So December 27th of '84.                Third
 14     visit.      We had first visit on 12/6/84.                     We had
 15     the statement on 12/7 and then another visit
 16     on the 27th?
 17           A.    Even though -- obviously, on paper,
 18     yes.     I don't recall those dates.                 But, yes,
 19     obviously it did happen.
 20           Q.    Fair enough.
 21           A.    That's okay.
 22           Q.    To the best of your memory were Tom
 23     and Dave also at your house when samples were
 24     collected?
 25           A.    I don't recall.           I don't recall.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           Q.    Did you ever hear back about the
  3     processing of those hairs?
  4           A.    I believe not.          But I don't recall.
  5           Q.    After your car was returned back to
  6     you and the hair samples were taken, did
  7     Nassau County Police ever contact you again in
  8     1984, 1985 or 1986?
  9           A.    I don't recall.
 10           Q.    Did any Nassau County District
 11     Attorney or prosecutor ever contact you to
 12     come talk to them or testify at a trial?
 13           A.    No.    At a trial?         No.
 14           Q.    Did any defense lawyer or
 15     investigator working for John Kogut or Dennis
 16     Halstead or John Restivo contact you in the
 17     1980s?
 18           A.    I believe not.
 19           Q.    What's the next time after the end of
 20     1984 anyone from Nassau County contacted you
 21     about your car and these issues?
 22           A.    I don't recall.           My memory is very
 23     vague.      It's so long ago.
 24           Q.    Well, when you walked in this morning
 25     Mr. Ferguson recognized you?

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  1                                J. French
  2                 MR. FERGUSON:          How do you know that?
  3           A.    You said in the '80s.
  4                 MR. FERGUSON:          Objection to the
  5     question.
  6           Q.    When you walked in -- I was there
  7     when you walked in, right, to the office?
  8           A.    Okay.
  9           Q.    And you saw Mr. Ferguson and he had a
 10     smile on his face and he reminded you that you
 11     two had met before; right?
 12                 MR. FERGUSON:          Just note my
 13     objection.
 14           A.    Okay.      I guess so.
 15           Q.    Do you remember when that meeting
 16     was?
 17           A.    No.
 18           Q.    But are you confident you have met
 19     with Mr. Ferguson before?
 20           A.    I didn't fully recognize his face.
 21     But so I just don't recall.                 I don't remember
 22     his face.
 23           Q.    Do you recall talking to him about
 24     these issues?
 25           A.    I don't recall.           Yeah, it's -- I'm a

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      JOHN T. FRENCH                                               April 29, 2011
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  1                        J. French
  2     very busy person. I may have spoke to
  3     somebody. It may have been him. I don't
  4     remember, you know.
  5          Q. Do you recall being contacted by any
  6     Nassau County detective in the last couple of
  7     years about these issues?
  8          A. Last couple of years? Not that I
  9     recall.
 10          Q. A Detective Hillman?
 11          A. Oh, yes. Absolutely. Oh, God. I am
 12     so busy it's like -- yes, I did talk to
 13     Detective Hillman.
 14          Q. How did Detective Hillman contact
 15     you?
 16          A. I forgot. Maybe he called me? I
 17     don't recall.
 18          Q. Are you on Facebook by any chance?
 19          A. No.
 20          Q. Me neither. We're the two people
 21     left on the earth, I think.
 22             Did you meet with Detective Hillman
 23     in person?
 24          A. Yes.
 25          Q. Where was the meeting?

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  1                                J. French
  2           A.    It was at the Malbrook Diner in
  3     Valley Stream, border of Lynbrook, called the
  4     Malbrook Diner.
  5           Q.    How recent was that meeting?
  6           A.    Months ago.         I forgot exactly when
  7     though.
  8           Q.    How did he introduce himself to you?
  9           A.    As a detective.
 10           Q.    And was it your understanding he was
 11     working on the Fusco case trying to solve that
 12     crime?
 13           A.    I don't recall.
 14                 MR. FERGUSON:          Note my objection to
 15     the form of the question.
 16           A.    I don't recall.           He just asked me
 17     some questions.           That's all I remember.
 18           Q.    Did he tell you why he wanted to ask
 19     you questions?
 20           A.    Not specifically.            From what I can
 21     recall -- I don't really remember.                     I was
 22     working in Valley Stream and I was very tired.
 23     So I met him there and that's all -- I
 24     remember him asking questions.                  I don't really
 25     recall exactly about what, you know.

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  1                           J. French
  2          Q.     Was anyone with him when you had that
  3     meeting?
  4          A. There was another detective with him.
  5          Q. Detective Goldman, by any chance?
  6          A. That's correct.
  7          Q. Did they show you their badges?
  8          A. I believe so.
  9          Q. How long did you meet with Detectives
 10     Hillman and Goldman at the diner?
 11          A. We met over a cup of coffee. That
 12     was about it. We had about a cup of coffee.
 13     I don't remember how long exactly the meeting
 14     was.
 15          Q. And generally speaking, was the
 16     subject of discussion your car and its being
 17     stolen?
 18          A. I believe so. I really don't
 19     remember the questions in detail at all of
 20     what they asked. Like I said, I was tired
 21     that day. I work very hard.
 22          Q. What time did you meet?
 23          A. It was after work. So I don't
 24     remember exactly what time. But it was after
 25     work.

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  1                                J. French
  2           Q.    And you work --
  3           A.    Generally an 8-to-10 hour day.                     Now
  4     8.    No more overtime.
  5           Q.    Right.      Other than the meeting over a
  6     cup of coffee at the diner with Detective
  7     Hillman and Detective Goldman, as you sit here
  8     today do you recall having any other
  9     meeting --
 10           A.    No, no.
 11           Q.    --    with Mr. Ferguson or any other
 12     Nassau County person?
 13           A.    No.
 14           Q.    Were you asked to sign any statement
 15     or document?
 16           A.    I don't believe so.             I don't recall.
 17     But I'm pretty easygoing.                But I just don't
 18     recall, you know.
 19           Q.    Sure.
 20                 Other than the statement that I
 21     showed you a minute ago that you signed
 22     identifying the rope and the pouch, do you
 23     recall Nassau County police officers asking
 24     you to sign anything else back in 1984 and
 25     1985?

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      JOHN T. FRENCH                                               April 29, 2011
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  1                        J. French
  2         A. Other than this? I don't recall.
  3         Q. Was your sister Lori with you when
  4     you met with Detectives Hillman and Goldman?
  5         A. No.
  6         Q. But you're aware that she did speak
  7     to them?
  8         A. I -- I'm not sure. I don't recall.
  9         Q. Have you two talked about the fact
 10     that you're being asked questions about these
 11     events from so long ago?
 12         A. We talked about it once, telling the
 13     story to my mom. And we really didn't get
 14     into it. You know, she's extremely busy like
 15     me. So it's not really a topic of discussion
 16     for us because we're just so busy.
 17         Q. Sure.
 18              Mr. French, did you know John
 19     Restivo?
 20         A. No.
 21         Q. Had you ever met him?
 22         A. No.
 23         Q. Had you ever met Dennis Halstead?
 24         A. No.
 25         Q. Have you ever met John Kogut?

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                 J. French
  2         A.      No.
  3         Q.      Did you even know those names in
  4     1984?
  5         A.  Not at all.
  6             MS. CORNWALL: I have no further
  7     questions at this time. But I'm sure
  8     Mr. Ferguson will.
  9     EXAMINATION BY
 10     MR. FERGUSON:
 11         Q. Good morning, Mr. French.
 12         A. Good morning.
 13         Q. Mr. French, I think you just said a
 14     few minutes ago that you're not sure whether
 15     you recognize me or did you say you don't
 16     recognize me?
 17         A. You look familiar. But I -- yeah --
 18     but I didn't really fully recognize you right
 19     off the bat.
 20         Q. Okay. In the last two years has your
 21     appearance changed at all?
 22         A. Has my appearance changed?
 23         Q. Yes.
 24         A. In the last two years?
 25         Q. Yes.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           A.    Well, I did have a mustache which I
  3     shaved off.        My hair got a little longer.
  4           Q.    Did you have the hair that's, you
  5     know, below the --
  6           A.    Yes.     I always had that.
  7           Q.    But you used to have a mustache?
  8           A.    It bothered my girlfriend and I love
  9     her.     So I shaved it for her.
 10           Q.    Mr. French, although maybe you
 11     vaguely remember me or you don't, do you
 12     recall, though, that you did have a meeting
 13     with attorneys from the county to discuss many
 14     or most of the things that have been discussed
 15     here today?
 16           A.    Yes.     I remember going to Mineola.                       I
 17     believe it was you and the D.A.?                    The girl?
 18           Q.    So you do remember a woman being
 19     present as well?
 20           A.    Yeah.
 21           Q.    And --
 22           A.    Sullivan maybe?
 23           Q.    Your memory is getting better.                     Okay,
 24     Mr. French.
 25                 Do you remember -- you do remember a

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     meeting and it was one meeting and it was with
  3     two people, male and female, and the female's
  4     name was Sullivan?
  5           A.    Yes.
  6           Q.    Do you recall a Christine Sullivan?
  7           A.    Okay.      Yes.
  8           Q.    And do you remember that both of us
  9     spoke to you at the same time?
 10           A.    Yes.     Absolutely.
 11           Q.    And that was the only meeting,
 12     correct?
 13           A.    Yes.
 14           Q.    And you had been contacted in some
 15     fashion and asked if you would be willing to
 16     meet with us?
 17           A.    Sure.
 18           Q.    Do you recall how you were contacted?
 19           A.    No.
 20           Q.    Do you recall, Mr. French, that
 21     before you actually sat down and met with us,
 22     that you had some telephone conversation with
 23     Ms. Sullivan?
 24           A.    I believe so.          That's probably how I
 25     was contacted.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                        J. French
  2         Q. Do you recall how long ago this was?
  3         A. Not really, no. Maybe a year ago? I
  4     don't really recall.
  5         Q. Would it be at least a year ago?
  6         A. Probably, I guess. I don't recall.
  7         Q. Do you recall, Mr. French, speaking
  8     to Ms. Sullivan on the phone and telling her
  9     that you had previously been contacted by
 10     someone else?
 11         A. Yes.
 12         Q. And who was that?
 13         A. I believe it was the attorneys
 14     from -- you guys.
 15         Q. Pointing towards Ms. Cornwall?
 16         A. Yes.
 17         Q. Did you use the word Project Freedom?
 18         A. Somebody told me about something. I
 19     forgot. Or she said -- she mentioned
 20     something. I don't recall.
 21         Q. Do you recall who you were contacted
 22     by for the attorneys for the other side?
 23         A. I don't remember the name. I don't
 24     remember the name.
 25         Q. Did you describe that to Ms. Sullivan

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     as a bad experience for you?
  3           A.    I was upset because I didn't like the
  4     way they came to my mom's house and, like,
  5     squeezed things out of her.                 She's very ill.
  6     She has multiple sclerosis.                 I was upset about
  7     that and she was upset.               Having MS, to disturb
  8     somebody and ask questions like that, really
  9     hurts her.        It makes her very weak, you know.
 10     So I was very upset about that, I recall.
 11           Q.    Do you recall being approached by a
 12     Mary Shembre, S-H-E-M-B-R-E.
 13           A.    The name -- I believe that's the
 14     person who may have called me.
 15           Q.    Did that person indicate that she was
 16     an investigator?
 17           A.    I don't recall.
 18           Q.    Did that person ask you questions?
 19           A.    Probably.
 20           Q.    Did you indicate in some fashion that
 21     you had a problem with the way she was going
 22     about that?
 23           A.    Yes.     I -- like I said, being as busy
 24     as I am, I felt like, you know -- I didn't
 25     like the way she approached my mom and the

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  1                                J. French
  2     way -- you know, it's like -- I didn't want to
  3     get involved in, like, something that's not --
  4     really has nothing to do with me, so to speak,
  5     basically.
  6           Q.    This Mary Shembre, was she giving or
  7     telling you information about what had
  8     happened back in 1984?
  9           A.    I don't recall.           I don't recall.              She
 10     called me during work and was a little
 11     persistent.        And I was really busy that day.
 12     I remember I had a lot on my mind for work.
 13           Q.    Did she tell you that you could be
 14     subpoenaed?
 15           A.    I believe so.
 16           Q.    How did that discussion come up?
 17           A.    I don't recall.           I don't recall.
 18           Q.    The time that you met with Ms.
 19     Sullivan, that was the same time that you met
 20     with another attorney who you think is me; is
 21     that correct?
 22           A.    Yes.
 23           Q.    I don't want to put words in your
 24     mouth.
 25           A.    I believe it was you.              Yeah.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                       J. French
  2         Q. If you didn't meet me that day, you
  3     never met me before, right?
  4         A. No.
  5         Q. And you never met me since?
  6         A. No.
  7         Q. And we never spoke since, right?
  8         A. No. Not at all.
  9         Q. Okay. Now, the discussion with us
 10     was about your car and the fact that it had
 11     been stolen on November 10th around the time
 12     that you've indicated, at the location you've
 13     indicated, and that you recovered it when you
 14     went out looking for it with your sister;
 15     correct?
 16         A. Correct.
 17         Q. And you loved that car?
 18         A. Yes.
 19         Q. And you kept that car at the time
 20     meticulously clean, did you say?
 21         A. Yes, I did. I kept it clean, very
 22     clean.
 23         Q. And when you bought that car or when
 24     you had the car, would it be fair to say that
 25     that car was in good condition?

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  1                                J. French
  2           A.    Yes.
  3           Q.    Would it be fair to say that because
  4     of your love for that car, you maintained that
  5     car in very good condition?
  6           A.    Yes.
  7           Q.    And would it be fair to say, sir,
  8     that you never had occasion to tow that car at
  9     all?
 10           A.    I think one time something may have
 11     happened where, like, the fluid was drained on
 12     my radiator and I had to have it towed.                          Yeah.
 13     I mean, I had my friend tow it with me, you
 14     know.
 15           Q.    Do you recall how you did that, that
 16     tow that you say you did with your friend?
 17           A.    No.    I remember having fluid problems
 18     with it where I didn't want to use it and
 19     overheat the car.            I remember things like that
 20     happening it to it, you know.
 21           Q.    Do you recall telling, when you had
 22     met with myself and Ms. Sullivan, that you
 23     kept the car neat and clean and that you kept
 24     nothing in the back seat?
 25           A.    I would imagine so.             I don't remember

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     about keeping anything in the back seat or
  3     not.
  4           Q.    Did you keep anything in the back
  5     seat?
  6           A.    How could I -- I don't recall.
  7           Q.    Well, I understand you don't recall.
  8     But based on the way you maintained that car
  9     and the way you know you are, as you described
 10     here today, would you have kept a back seat
 11     disheveled with respect to a bunch of things?
 12                 MR. GRANDINETTE:           Object to the form.
 13           A.    Not really.         But, like I said, I did
 14     keep it neat.
 15           Q.    Do you recall telling Ms. Sullivan
 16     and myself that you would not normally keep a
 17     rope in your car?
 18           A.    I don't recall.
 19           Q.    You were shown a statement, I think,
 20     here today dated December 7, 1984, Exhibit
 21     number 163.        And do you have it in front of
 22     you there?        Do you see it?          And in that
 23     statement -- I think you already indicated you
 24     don't specifically recall this now -- but the
 25     statement says that, "I had the length of rope

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     in the back of my car because I used it to tie
  3     down a bed that I had transported for my
  4     friend."
  5           A.    Okay.
  6           Q.    Now, would it be fair to say, sir,
  7     after you recovered the car on November 18th,
  8     you then continued to use that car?
  9           A.    Yes.
 10           Q.    And did you use it for work?
 11           A.    I don't recall.           But I believe so.
 12           Q.    You were working at that Lemarc Watch
 13     Company?
 14           A.    Yes.     I'm sure I would have used my
 15     car for work.
 16           Q.    That's how you did get back and forth
 17     to work at that time; is that correct?
 18           A.    Yes.
 19           Q.    Would it be fair to say, then, in the
 20     time period between November -- withdrawn.
 21                 Do you know, this statement being
 22     December 7th, if the use of the rope here,
 23     referring to "tying down a bed" whether that
 24     could have been after you had recovered your
 25     car on November 18th?

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           A.    I don't recall.
  3           Q.    You don't remember one way or the
  4     other?
  5           A.    No.
  6           Q.    But this statement here, which you
  7     don't remember exactly the details of it,
  8     says, "I used it to tie down a rope that I
  9     used to transport for my friend"?
 10           A.    Bed.
 11           Q.    Sorry.      You used it to tie down a
 12     bed.     I think I said to tie down a rope.
 13                 "Used it to tie down a bed."                   Is that
 14     something that you might do?
 15           A.    Yes.     Yeah.      I help people out a lot.
 16     Yes.
 17           Q.    There's nothing, by the way, in this
 18     statement, December 7th, that says anything
 19     about why you normally kept a rope in your car
 20     in case you needed to get a tow?
 21           A.    I imagine I did because even my other
 22     cars before that -- you know, I was a young
 23     kid.     So I remember I always kept something to
 24     be able to tow my car.              You know, when you
 25     can't afford to fix your car, as a young --

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     you know, I was prepared if I needed to make a
  3     call and have somebody help me out.
  4           Q.    When it says, "I positively
  5     identified the rope and pouch," do you recall
  6     telling Ms. Sullivan and myself that the pouch
  7     may have been connected with the fact that you
  8     worked for the watch company?
  9           A.    Yes.     Probably.
 10           Q.    And with the watch company you had
 11     pouches?
 12           A.    Yes.
 13           Q.    And you remember telling us that?
 14           A.    I believe -- yeah.
 15           Q.    And do you have -- withdrawn.
 16                 One of the things, would it be fair
 17     to say, Mr. French, that as you testify here
 18     today, that after you got your car back it was
 19     you who contacted the Nassau County Police
 20     Department because you thought there might be
 21     a connection between your car and the death of
 22     this woman?
 23           A.    Yes.     Yes.
 24           Q.    And you were living in the community
 25     at the time and the discovery of the body of

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     this woman was a big deal; wasn't it?
  3           A.    Yes.
  4           Q.    And you knew that this was something
  5     that had occurred recently and that no one had
  6     been immediately apprehended for this, right?
  7           A.    Yes.
  8           Q.    And you knew that the dates were,
  9     when she supposedly went missing, was the same
 10     date and time when your car went missing,
 11     right?
 12           A.    Yes.
 13           Q.    So you thought there possibly could
 14     be a connection, right?
 15           A.    Yes.
 16           Q.    And you, in fact, told that to Ms.
 17     Sullivan and myself?
 18           A.    Yes.
 19           Q.    And you contacted the police
 20     department, right?
 21           A.    Correct.
 22           Q.    Did you tell us that the police,
 23     homicide police came right away?
 24           A.    I believe they did, yes.
 25           Q.    Did you tell us that they took your

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      JOHN T. FRENCH                                               April 29, 2011
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  1                       J. French
  2     car on a flatbed truck?
  3          A. Yes.
  4          Q. And they took it away right away,
  5     didn't they?
  6          A. Yes.
  7          Q. And that you were driven to
  8     headquarters in the back of a detective car,
  9     yes?
 10          A. Yes.
 11          Q. And that was something that never
 12     happened to you before, right?
 13          A. No.
 14          Q. So there was no doubt in your mind
 15     that the police were very interested in this
 16     car?
 17          A. Yes.
 18          Q. And they didn't try to drive it, in
 19     fact, they put it on a flatbed?
 20          A. Absolutely.
 21          Q. And they took you right down to
 22     homicide, right?
 23          A. Yes.
 24          Q. And then, according to what you've
 25     been asked here today from the newspaper

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     articles that you were shown, this was right
  3     after, within a day or so of the body being
  4     discovered of this woman?
  5           A.    Chronologically I don't remember the
  6     dates about these things.                But if it's on
  7     paper, then it must have happened, you know.
  8           Q.    You were shown here documents today
  9     indicating that you were spoken to by the
 10     police, say, on December 6th by detectives on
 11     December 6, 1984 and also December 7th, I
 12     think, am I correct, 1984?
 13           A.    Yes.
 14           Q.    And also there was here a
 15     statement -- there was also, you mentioned,
 16     the hair and there's another statement here --
 17     let me see if I can get my hands on it right
 18     now.     There's a statement that you were shown
 19     today that was marked today as an exhibit.
 20     But it says prepared by Detective Mitchell and
 21     it's December 11th?
 22                 MS. CORNWALL:          Exhibit 162.
 23           A.    Correct.
 24           Q.    So the -- do you recall, Mr. French,
 25     telling us that the police had that car for

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2     quite some time?
  3           A.    Yes.
  4           Q.    And it was actually not them who
  5     contacted you.          But you finally contacted them
  6     about, "Hey, what's the status of my car?"
  7           A.    "Can I have my car back please?"
  8     Yes.
  9           Q.    And then you recovered your car,
 10     right?
 11           A.    Yes.
 12           Q.    Do you recall telling us that when
 13     you did recover it, it was filled with
 14     fingerprint dust?
 15           A.    Yes.
 16           Q.    So it indicated that investigators
 17     had gone through that car?
 18           A.    Yes.     Absolutely.
 19                 MR. GRANDINETTE:           Objection as to
 20     form.
 21           Q.    Do you recall telling Ms. Sullivan
 22     and myself that the police told you that there
 23     was no connection between your car and that
 24     homicide?
 25           A.    That's correct.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                       J. French
  2         Q. And do you recall telling us that you
  3     were kind of actually a little disappointed
  4     because the thought the situation might be
  5     different?
  6         A. Yes. Just because of the pants and
  7     everything, I really thought there was going
  8     to be a connection.
  9         Q. But after speaking to you several
 10     times, and after speaking and after taking
 11     these hair samples and after the fingerprint
 12     dust and so forth, when you finally got the
 13     car back you were notified there wasn't a
 14     connection and --
 15             MR. GRANDINETTE: Objection to the
 16     form.
 17             MR. FERGUSON: Can I finish the
 18     question?
 19             MR. GRANDINETTE: I thought you were
 20     finished.
 21         Q. In the opinion of the homicide
 22     detectives there wasn't a connection between
 23     your car and --
 24         A. Correct.
 25             MR. GRANDINETTE: Objection to form.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           Q.    But it was certainly your opinion
  3     that initially the detectives were very
  4     interested in your car?
  5           A.    Yes.
  6           Q.    Do you recall at all, Mr. French, one
  7     way or the other, that you telling Ms.
  8     Sullivan and myself that it was definitely not
  9     your practice to keep a rope in your car?
 10                 MR. GRANDINETTE:           Objection.
 11                 MS. CORNWALL:          Objection.        Asked and
 12     answered.
 13           A.    Repeat the question, please?
 14                 MR. FERGUSON:          Could you read it
 15     back?
 16                 (Record read.)
 17           A.    I don't recall.
 18           Q.    Are you familiar with the area where
 19     your car was found by yourself by the Lakeview
 20     railroad station?
 21           A.    Yeah.      I would say yes.
 22           Q.    Had you ever gone to any houses in
 23     that area?
 24           A.    No.    No houses in that area.
 25           Q.    Did you use that railroad station?

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      JOHN T. FRENCH                                               April 29, 2011
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  1                                J. French
  2           A.    No.
  3           Q.    So if you used the railroad it would
  4     have been a different station?                  Lynbrook
  5     station?
  6           A.    Malverne or Lynbrook, yes.
  7           Q.    So it wouldn't have been that?
  8           A.    No.
  9           Q.    Do you happen to know if near where
 10     your car was found by you there was a home or
 11     homes for boys?
 12           A.    I have no idea.
 13           Q.    You have no idea about that?
 14           A.    No.
 15           Q.    Do you remember keeping anything else
 16     in your car at all other than what you've told
 17     us today?       Except, possibly, I think you told
 18     us there might have been a hunting knife and
 19     maybe some tools that you would keep normally
 20     in the truck, right?
 21           A.    Yes.
 22                 MR. GRANDINETTE:           Objection to form.
 23           Q.    That was your practice, you always
 24     kept tools?
 25           A.    Always.

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      JOHN T. FRENCH                                               April 29, 2011
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  1                       J. French
  2         Q. When you say you always kept tools
  3     what kinds of tools are you talking about?
  4         A. Ratchets, screw drivers, things like
  5     that.
  6         Q. Basically small hand tools?
  7         A. Yes. All hand tools.
  8         Q. I think you were shown a photograph
  9     today. One of the photographs, if I'm
 10     correct, might be Exhibit I, shows a piece of
 11     rope?
 12         A. J.
 13         Q. J.
 14             Do you recognize that at all?
 15         A. No. I don't recognize it.
 16             MR. FERGUSON: Can I have just a
 17     minute to speak to her for a second?
 18             (Mr. Ferguson and Ms. Limani leave
 19     the room for a brief recess.)
 20             MR. FERGUSON: I have no further
 21     questions, Mr. French. Thank you very much.
 22             MS. CORNWALL: I just have a couple
 23     of follow-ups.
 24     CONTINUED EXAMINATION
 25     BY MS. CORNWALL:

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  1                        J. French
  2         Q. The meeting you had with Mr. Ferguson
  3     and Christine Sullivan, was that before or
  4     after you met with Detectives Hillman and
  5     Goldman?
  6         A. Before.
  7         Q. How much before?
  8         A. I would say months. I don't know
  9     exactly how --
 10         Q. When you met with Mr. Ferguson and
 11     Ms. Sullivan, were either of them taking
 12     notes?
 13         A. I don't recall.
 14         Q. Did they ask you to sign anything?
 15         A. I don't recall.
 16         Q. Before today you and I have never
 17     met, have we?
 18         A. No.
 19         Q. I would ask you to take a look at a
 20     couple of items to see if you recognize them.
 21              Exhibit 268 is a photograph of a red,
 22     white and blue quilt. Do you recognize that?
 23         A. No. I do not recognize that.
 24         Q. How about Exhibit 269?
 25         A. I do not recognize this either.

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  1                       J. French
  2          Q. Okay. And 270?
  3          A. No. I do not recognize that either.
  4          Q. As you sit here today, Mr. French,
  5     you don't have any personal knowledge of
  6     whether the stealing of your car has any
  7     connection with the Theresa Fusco case, do
  8     you?
  9          A. No, I don't.
 10             MS. CORNWALL: Thank you. I have
 11     nothing further. Thank you so much for coming
 12     in.
 13             MR. FERGUSON: Thank you, Mr. French.
 14             THE WITNESS: Take care.
 15             (Time noted: 11:36 a.m.)
 16
                               _________________________
 17                               John T. French
 18
        Subscribed and sworn to before me
 19     This _____ day of ________, 2011.
 20
        _________________________
 21          NOTARY PUBLIC
 22
 23
 24
 25


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  2                             I N D E X
  3     EXHIBITS                             PAGE
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  5     266, Police report                    5
  6     266, copy of a photograph of blanket 5
  7     267, copy of a photograph of blanket 5
  8     268, copy of a photograph             5
  9     269, copy of a photograph             5
 10     270, copy of a photograph             5
 11
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 12
          MS. CORNWALL                                                     5
 13
          MR. FERGUSON                                                     73
 14
          MS. CORNWALL                                                     92
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                                                                              96
  1
  2
                       C E R T I F I C A T I O N
  3
  4                         I, HELGA CHRISTIANE LAVAN, a
  5     Shorthand Reporter and notary public, within
  6     and for the State of New York, do hereby
  7     certify:
  8                         That JOHN T. FRENCH, the witness
  9     whose examination is hereinbefore set forth,
 10     was first duly sworn by me, and that
 11     transcript of said testimony is a true record
 12     of the testimony given by said witness.
 13                         I further certify that I am not
 14     related to any of the parties to this action
 15     by blood or marriage, and that I am in no way
 16     interested in the outcome of this matter.
 17
 18                         IN WITNESS WHEREOF, I have
 19     hereunto set my hand this                        day of
 20     , 20__.
 21
 22                                _____
 23                          HELGA CHRISTIANE LAVAN, Reporter
 24
 25


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  1      DEPOSITION ERRATA SHEET
  2
  3
  4     Our Assignment No.       319647
  5     Case Caption:     Restivo v. Nassau County
  6
  7                 DECLARATION UNDER PENALTY OF PERJURY
  8             I declare under penalty of perjury that I have
  9     read the entire transcript of my Deposition taken in the
 10     captioned matter or the same has been read to me, and
 11     the same is true and accurate, save and except for
 12     changes and/or corrections, if any, as indicated by me
 13     on the DEPOSITION ERRATA SHEET hereof, with the
 14     understanding that I offer these changes as if still
 15     under oath.
 16
 17     Signed on the ______ day of____________, 20___.
 18
 19     ___________________________________
 20               JOHN T. FRENCH
 21
 22
 23
 24
 25


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  2     Page No._____Line No._____Change to:______________

  3     __________________________________________________

  4     Reason for change:________________________________

  5     Page No._____Line No._____Change to:______________

  6     __________________________________________________

  7     Reason for change:________________________________

  8     Page No._____Line No._____Change to:______________

  9     __________________________________________________

 10     Reason for change:________________________________

 11     Page No._____Line No._____Change to:______________

 12     __________________________________________________

 13     Reason for change:________________________________

 14     Page No._____Line No._____Change to:______________

 15     __________________________________________________

 16     Reason for change:________________________________

 17     Page No._____Line No._____Change to:

 18     ________________________________________________________

 19     Reason for change:________________________________

 20     Page No._____Line No._____Change to:______________

 21     __________________________________________________

 22     Reason for change:________________________________

 23             SIGNATURE:_______________________DATE:_________

 24                         JOHN T. FRENCH

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  3     _______________________________________________
  4     son for change:________________________________
  5     e No._____Line No._____Change to:______________
  6     _______________________________________________
  7     son for change:________________________________
  8     e No._____Line No._____Change to:______________
  9     _______________________________________________
 10     son for change:________________________________
 11     e No._____Line No._____Change to:______________
 12     _______________________________________________
 13     son for change:________________________________
 14     e No._____Line No._____Change to:______________
 15     _______________________________________________
 16     son for change:________________________________
 17     Page No._____Line No._____Change to:______________
 18     __________________________________________________
 19     son for change:________________________________
 20     e No._____Line No._____Change to:______________
 21     _______________________________________________
 22     son for change:________________________________
 23
 24     SIGNATURE:_______________________DATE:___________
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